       Case 4:17-cr-00293-BSM Document 2321 Filed 12/16/21 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

v.                         CASE NO. 4:17-CR-00293-BSM-30

VALERIE BAKER                                                             DEFENDANT

                                        ORDER

      Valerie Baker’s motion to travel from the Eastern District of Arkansas to Cookson,

Oklahoma, to spend Christmas with her family [Doc. No. 2317] is granted. Baker may leave

the Eastern District of Arkansas on December 23, 2021 at 9:00 a.m., and she must return by

December 26, 2021 by 5:00 p.m. All other conditions of her release remain in effect. See

Doc. No. 347 and subsequent modifications].

      IT IS SO ORDERED this 16th day of December, 2021.




                                                  UNITED STATES DISTRICT JUDGE
